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            EXHIBIT E
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      BARRY WAYNE·                                                 April 22, 2014
      VANGELAKOS vs. WELLS FARGO                                                1

·1· · · · · · · · · · · · ·Wayne

·2·   ·UNITED STATES DISTRICT COURT
· ·   ·SOUTHERN DISTRICT OF NEW YORK
·3·   ·------------------------------x
· ·   ·GEORGE VANGELAKOS, IAN KING,
·4·   ·JOSEPH KORONAKIS, AND BARRY
· ·   ·WAYNE, Individually and on
·5·   ·Behalf of All Others Similarly
· ·   ·Situated,
·6
· ·   · · · · · · · · Plaintiffs,
·7
· ·   · · · ·against· · · · · Case No. 13 CV 6574
·8
· ·   ·WELLS FARGO BANK, N.A.,
·9·   ·WELLS FARGO & COMPANY,
· ·   ·WFC HOLDINGS CORPORATION,
10·   ·WACHOVIA CORPORATION, AND
· ·   ·WACHOVIA BANK, N.A.
11
· ·   · · · · · · · · Defendants.
12·   ·------------------------------x

13

14· · · · · · · · · ·BARRY WAYNE

15· · · · · · · ·New York, New York

16· · · · · · ·Tuesday, April 22, 2014

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24· ·Reported by:· Steven Neil Cohen, RPR

25· ·Job No. 63268


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·1· · · · · · · · · · · · ·Wayne
·2· · · · · · · · ·April 22, 2014
·3· · · · · · · · · · 1:25 p.m.
·4
·5· · · · · · ·Videotaped Deposition of BARRY
·6· ·WAYNE, taken by Defendants, pursuant to
·7· ·notice, at the offices of Seyfarth Shaw LLP,
·8· ·620 Eighth Avenue, New York, New York,
·9· ·before Steven Neil Cohen, a Registered
10· ·Professional Reporter and Notary Public of
11· ·the State of New York.
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·1· · · · · · · · · · · · ·Wayne

·2· · · · · · · · · ·APPEARANCES

·3

·4· ·SEYFARTH SHAW LLP

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11

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23· · · · · · ·Attorneys for Plaintiffs

24· ·By:· · JOHN M. PADILLA, ESQ.

25· ·ALSO PRESENT:
· · · · · · ·Andrew Ritchie, Videographer


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·1· · · · · · · · · · · · ·Wayne
·2
·3· · · · · · ·IT IS HEREBY STIPULATED AND
·4· ·AGREED, by and between counsel for the
·5· ·respective parties hereto, that the sealing
·6· ·and filing of the within deposition be
·7· ·waived; that such deposition may be signed
·8· ·and sworn to before any officer authorized
·9· ·to administer an oath; that all objections,
10· ·except as to form are reserved to the time
11· ·of trial.
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·1· · · · · · · · · · · · · ·Wayne
·2· · · · · · · ·THE VIDEOGRAPHER:· The time now
·3· · · · ·is 1:25 p.m. on April 22, 2014.
·4· · · · · · · ·This marks the beginning of tape
·5· · · · ·number 1 to the videotaped deposition
·6· · · · ·of Barry Wayne.
·7· · ·BARRY WAYNE, called as a witness by the
·8· · · · Defendants, having been duly sworn,
·9· · · · testified as follows:
10· · ·EXAMINATION
11· ·BY MR. WATSON:
12· · · · ·Q.· · Would you state your name please?
13· · · · ·A.· · Barry Wayne.
14· · · · ·Q.· · Mr. Wayne, my name is Tim Watson.
15· · ·I am a lawyer and I represent Wells Fargo in
16· · ·this lawsuit that you filed against Wells
17· · ·Fargo and its predecessor Wachovia.
18· · · · · · · ·Do you understand that?
19· · · · ·A.· · Yes.
20· · · · ·Q.· · Have you given a deposition
21· · ·before?
22· · · · ·A.· · I have not.
23· · · · ·Q.· · You have not.· All right.
24· · · · · · · ·A couple of things.· The court
25· · ·reporter is taking down everything we say


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·1· · · · · · · · · · · · ·Wayne
·2· · · ·Q.· · Can you -- do you recall any like
·3· ·specific instance that you have an actual
·4· ·recollection of Ms. Gordon telling you, you
·5· ·know, please do not record your overtime,
·6· ·just work off the clock, she is telling you
·7· ·to work off the clock?
·8· · · ·A.· · This is an overshadowing message
·9· ·that is occurring almost daily --
10· · · ·Q.· · Did she tell you --
11· · · ·A.· · -- from what I remember.
12· · · ·Q.· · When I say "work off the clock,"
13· ·do you understand what that means?
14· · · ·A.· · I was told to not record over 40
15· ·hours per week that is what the message was
16· ·to me.
17· · · ·Q.· · Did they tell you to work more
18· ·than 40 hours in a week?
19· · · ·A.· · We needed to work as much as we
20· ·needed to work in order to hit the goals
21· ·which were essentially very difficult to
22· ·achieve so it was not uncommon that I would
23· ·be working 55 or 60 hours a week or even
24· ·much more than that in many cases to achieve
25· ·those goals.· But I was told to record no


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·1· · · · · · · · · · · · · ·Wayne
·2· · · · ·173?
·3· · · · · · · ·THE WITNESS:· Are you asking me?
·4· · · · · · · ·MS. WILLS:· First of all the
·5· · · · ·question is vague and ambiguous as to
·6· · · · ·what this fax back counsel is
·7· · · · ·referring to.
·8· ·BY MR. WATSON:
·9· · · · ·Q.· · Did you understand the question,
10· · ·Mr. Wayne?
11· · · · ·A.· · Go ahead.· Sorry.
12· · · · ·Q.· · Did you understand it?
13· · · · ·A.· · Can you repeat the question?· I am
14· · ·sorry.· There was a lot of dialogue going
15· · ·back and forth.
16· · · · ·Q.· · Did you work at BTW Enterprises?
17· · · · ·A.· · Yes, that was a company that I
18· · ·had.
19· · · · ·Q.· · Was it your own company?
20· · · · ·A.· · Yes.
21· · · · ·Q.· · Where was the office?
22· · · · ·A.· · I don't recall the address that we
23· · ·had for it.
24· · · · ·Q.· · Somewhere different than 63 Lorna
25· · ·Lane?


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·1· · · · · · · · · · · · · ·Wayne
·2· · · · ·A.· · I would have to check.
·3· · · · ·Q.· · You don't remember whether you
·4· · ·officed out of your house or not?
·5· · · · ·A.· · There might have been a different
·6· · ·address that we used at that time.· I don't
·7· · ·recall.
·8· · · · ·Q.· · Did you also use your home?
·9· · · · ·A.· · There would have been times when I
10· · ·may have used the home.
11· · · · ·Q.· · You don't recall whether you had a
12· · ·separate address?
13· · · · ·A.· · The company operated out of
14· · ·different locations so.
15· · · · ·Q.· · What were the different locations?
16· · · · · · · ·MS. WILLS:· Objection.
17· · · · ·Relevance.
18· ·BY MR. WATSON:
19· · · · ·Q.· · What were the different locations?
20· · · · ·A.· · I don't recall honestly.· It was
21· · ·an entertainment company.
22· · · · ·Q.· · You don't recall the locations?
23· · · · ·A.· · No.· I don't.
24· · · · ·Q.· · Was it your company exclusively?
25· · · · ·A.· · Yes.


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·1· · · · · · · · · · · · · ·Wayne
·2· · · · ·Q.· · Did you have employees?
·3· · · · ·A.· · Yes.
·4· · · · ·Q.· · How many?
·5· · · · ·A.· · I don't recall exactly.
·6· · · · · · · ·MS. WILLS:· Objection.
·7· · · · ·Relevance.
·8· ·BY MR. WATSON:
·9· · · · ·Q.· · Ten, less than ten?
10· · · · · · · ·MS. WILLS:· Objection,
11· · · · ·relevance.
12· · · · · · · ·THE WITNESS:· I honestly don't
13· · · · ·recall.
14· ·BY MR. WATSON:
15· · · · ·Q.· · You really don't know whether you
16· · ·had more than ten employees?
17· · · · · · · ·MS. WILLS:· Objection.
18· · · · ·Relevance.· Asked and answered.
19· · · · · · · ·THE WITNESS:· I can't count it.
20· · · · ·I don't know.
21· ·BY MR. WATSON:
22· · · · ·Q.· · You can't count?
23· · · · ·A.· · I don't recall how many employees
24· · ·I had.
25· · · · ·Q.· · Did you have more than ten or


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·1· · · · · · · · · · · · · ·Wayne
·2· · ·fewer than ten?
·3· · · · · · · ·MS. WILLS:· Objection.
·4· · · · ·Relevance, asked and answered.
·5· ·BY MR. WATSON:
·6· · · · ·Q.· · Did you have more than ten or
·7· · ·fewer than ten?
·8· · · · ·A.· · I don't recall.
·9· · · · ·Q.· · Did you have more than 20 or fewer
10· · ·than 20?
11· · · · · · · ·MS. WILLS:· Objection.
12· · · · ·Relevance.
13· · · · · · · ·THE WITNESS:· I don't recall.
14· ·BY MR. WATSON:
15· · · · ·Q.· · You honestly don't know whether
16· · ·you had --
17· · · · ·A.· · I honestly don't know.
18· · · · ·Q.· · Did you have more than 100?
19· · · · · · · ·MS. WILLS:· Objection.
20· · · · ·Relevance.
21· ·BY MR. WATSON:
22· · · · ·Q.· · Did you have more than 100?
23· · · · · · · ·MS. WILLS:· Okay.· I am going to
24· · · · ·instruct the witness not to answer.
25· · · · ·This is completely irrelevant.


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·1· · · · · · · · · · · · ·Wayne
·2· · · ·Q.· · If they would tell you that then
·3· ·you would do it?
·4· · · ·A.· · If we had the time to do it.· If
·5· ·there was -- generally if you had a business
·6· ·lead you go after it.
·7· · · ·Q.· · Okay.· Did you continue with your
·8· ·personal business after you started at
·9· ·Wachovia?
10· · · ·A.· · Personal business, it was
11· ·something that occurred maybe once or twice
12· ·per month and it was on a -- solely on a
13· ·Saturday night starting at usually 8:00,
14· ·maybe running through midnight.
15· · · ·Q.· · What was your personal business?
16· · · ·A.· · That was the extent of that.
17· · · · · · ·It was a disk jockey company.
18· · · ·Q.· · Does it still exist?
19· · · ·A.· · No, it does not.
20· · · ·Q.· · What does that mean a "disk jockey
21· ·company"?
22· · · ·A.· · You know, DJ, music.
23· · · ·Q.· · I would call the company and what
24· ·would I do?
25· · · ·A.· · I would come and play music for


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·1· · · · · · · · · · · · ·Wayne
·2· ·you.
·3· · · ·Q.· · You were a DJ?
·4· · · ·A.· · Yes.· I was a DJ.
·5· · · ·Q.· · Were there other DJs that worked
·6· ·for the company or was it just you?
·7· · · ·A.· · It was primarily me and
·8· ·occasionally I would call on someone that I
·9· ·knew to send someone to help me if it was
10· ·something that I couldn't do on my own.
11· · · ·Q.· · This continued while you were
12· ·employed with Wachovia?
13· · · ·A.· · I don't recall it going through
14· ·the whole time.· It was perhaps active for
15· ·2007, 2008, I think it started, it started
16· ·just winding it off.
17· · · ·Q.· · Were you the only employee of the
18· ·business?
19· · · · · · ·MS. WILLS:· Objection.· Vague
20· · · ·and ambiguous with respect to the term
21· · · ·"employee."
22· · · · · · ·THE WITNESS:· Yes.· I am not
23· · · ·sure how you -- what you classify as,
24· · · ·you know, employee.
25· · · · · · ·I am just going out and playing


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·1· · · · · · · · · · · · · ·Wayne
·2· · · · ·music for people.
·3· ·BY MR. WATSON:
·4· · · · ·Q.· · Was the business incorporated?
·5· · · · ·A.· · Yes.
·6· · · · ·Q.· · Who was the shareholder?
·7· · · · · · · ·MS. WILLS:· Okay.· I am going to
·8· · · · ·object on the grounds of relevance.
·9· · · · · · · ·I think we have been down this
10· · · · ·road before.
11· · · · · · · ·MR. WATSON:· I didn't know
12· · · · ·before that this was a business that
13· · · · ·was going on while he was employed at
14· · · · ·Wachovia.· Now I think it is clearly
15· · · · ·relevant.
16· · · · · · · ·MS. WILLS:· Who the shareholder
17· · · · ·was?
18· · · · · · · ·MR. WATSON:· Yes.· If it is his
19· · · · ·company.
20· · · · · · · ·MS. WILLS:· Which he already
21· · · · ·testified to.
22· · · · · · · ·MR. WATSON:· Yes.
23· · · · · · · ·MS. WILLS:· What does it matter
24· · · · ·who the shareholder was?
25· · · · · · · ·MR. WATSON:· Well, just to have


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·1· · · · · · · · · · · · · ·Wayne
·2· · · · ·an understanding of the company, what
·3· · · · ·the company did, what its activities
·4· · · · ·were, how much time it would occupy of
·5· · · · ·his.
·6· · · · · · · ·MS. WILLS:· Counsel, I think he
·7· · · · ·has already testified to that.
·8· · · · · · · ·MR. WATSON:· I think I am
·9· · · · ·entitled to a little leeway in getting
10· · · · ·more information about the company.
11· · · · · · · ·MS. WILLS:· Counsel, I think we
12· · · · ·have been down this road before.
13· ·BY MR. WATSON:
14· · · · ·Q.· · How many individuals were
15· · ·associated with the company regardless of
16· · ·whether they were employees or shareholders
17· · ·or what -- regardless of the category how
18· · ·many individuals were associated with the
19· · ·company?
20· · · · · · · ·MS. WILLS:· I am going to object
21· · · · ·on the grounds of relevance.
22· · · · · · · ·And it is vague and ambiguous.
23· · · · · · · ·THE WITNESS:· I couldn't tell
24· · · · ·you exactly.· Not many.
25


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·1· · · · · · · · · · · · · ·Wayne
·2· ·BY MR. WATSON:
·3· · · · ·Q.· · Again, who all was associated with
·4· · ·the company besides you and the other DJs?
·5· · ·What kind of other people might do -- what
·6· · ·other roles were there?
·7· · · · · · · ·MS. WILLS:· Objection.
·8· · · · ·Relevance.
·9· · · · · · · ·THE WITNESS:· Pretty much it.
10· · · · ·There was nothing really to do because
11· · · · ·it was again something that I would
12· · · · ·operate on a Saturday evening from
13· · · · ·about 8:00 to 12:00 if I was lucky
14· · · · ·enough to get, you know, one or two
15· · · · ·parties a month to go play music for.
16· · · · ·That was really the extent of it.
17· ·BY MR. WATSON:
18· · · · ·Q.· · Earlier you mentioned something
19· · ·about a client book.· Was there something
20· · ·called -- was there like something called a
21· · ·client book?
22· · · · ·A.· · Relationship management software.
23· · · · ·Q.· · What was that?
24· · · · ·A.· · What was it?
25· · · · ·Q.· · Yes.


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·1· · · · · · · · · · · · ·Wayne
·2· · · ·Q.· · Next page, shows that you recorded
·3· ·11.92 hours of overtime and you were paid
·4· ·for that?
·5· · · ·A.· · Yes.· Looks like I was.
·6· · · ·Q.· · Then the next page shows that you
·7· ·recorded 4.75 hours of overtime.
·8· · · · · · ·Were you paid for that?
·9· · · ·A.· · It appears that I was.
10· · · ·Q.· · Going to page 94, do you see that?
11· · · ·A.· · Okay.
12· · · ·Q.· · It shows that you recorded and
13· ·were paid for 4.42 hours of overtime.
14· · · ·A.· · Yes.· I see that.
15· · · ·Q.· · Is that accurate?
16· · · ·A.· · It looks like it was paid that
17· ·period, yes.
18· · · ·Q.· · So do you have an estimate of the
19· ·number of overtime hours that you are
20· ·claiming you worked for Wachovia or Wells
21· ·Fargo that you weren't paid for?
22· · · · · · ·MS. WILLS:· Objection.· Asked
23· · · ·and answered.
24· · · · · · ·But we can go through it again.
25· · · · · · ·THE WITNESS:· I would say on


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·1· · · · · · · · · · · · · ·Wayne
·2· · · · ·average based on the schedule that we
·3· · · · ·covered tonight on most given weeks it
·4· · · · ·was probably somewhere between a
·5· · · · ·minimum of 55 to 60 hours and many
·6· · · · ·weeks it would have been considerably
·7· · · · ·greater than that.
·8· ·BY MR. WATSON:
·9· · · · ·Q.· · So that is 15 to 20 hours of
10· · ·overtime a week?
11· · · · · · · ·MS. WILLS:· Objection.
12· · · · ·Misstates the witness' testimony.
13· · · · · · · ·THE WITNESS:· I would again say
14· · · · ·that --
15· ·BY MR. WATSON:
16· · · · ·Q.· · The minimum?
17· · · · ·A.· · The minimum would have been 15 to
18· · ·20 hours per week and many weeks it would
19· · ·have been much greater than that.
20· · · · ·Q.· · What would be the greatest do you
21· · ·think?
22· · · · ·A.· · It would be hard for me to say off
23· · ·the top of my head.
24· · · · ·Q.· · Do you best shot.
25· · · · ·A.· · I will just take a moment to try


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·1· · · · · · · · · · · · · ·Wayne
·2· · ·to do some calculations in my head and give
·3· · ·you a week where -- an example where I might
·4· · ·have done the most possible hours.
·5· · · · ·Q.· · Okay.
·6· · · · ·A.· · Can I borrow a pen?
·7· · · · · · · ·MS. WILLS:· I rather you not.
·8· · · · · · · ·THE WITNESS:· Are you asking me
·9· · · · ·to give you hours when I was in the
10· · · · ·bank itself or are you asking me to
11· · · · ·give you hours including potential
12· · · · ·drive-bys to small businesses?
13· ·BY MR. WATSON:
14· · · · ·Q.· · I am trying to figure out the
15· · ·hours you are suing for in this lawsuit.
16· · · · · · · ·MS. WILLS:· All hours that you
17· · · · ·worked, is that it?
18· ·BY MR. WATSON:
19· · · · ·Q.· · Whatever you are suing for.
20· · · · ·A.· · So are we discussing then hours
21· · ·spent driving by business accounts I would
22· · ·have opened?
23· · · · ·Q.· · Yes.· If you are suing for that.
24· · · · ·A.· · I would say on a busier week it is
25· · ·very possible it went from 65 to 70 hours


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·1· · · · · · · · · · · · · ·Wayne
·2· · ·but again I am doing it at a very rough
·3· · ·calculation based on what is available to my
·4· · ·memory at this particular moment.
·5· · · · · · · ·It may have been greater than that
·6· · ·if I really sat down and spent a lot of time
·7· · ·thinking about this and going back over the
·8· · ·activities that I did everyday.
·9· · · · · · · ·Based on what we have covered
10· · ·today what I can think of right off the top
11· · ·of my head today.
12· · · · ·Q.· · Did you not expect to go over this
13· · ·today?
14· · · · · · · ·MS. WILLS:· Objection.
15· · · · ·Argumentative.
16· ·BY MR. WATSON:
17· · · · ·Q.· · I think it is a fair question.
18· · · · · · · ·Did you not expect me to ask you
19· · ·about the overtime hours you worked?
20· · · · ·A.· · I wasn't really sure -- again I
21· · ·didn't really have any documentation to go
22· · ·over.· I don't, you know -- I am not
23· · ·reviewing these documents.
24· · · · · · · ·I wasn't given these documents
25· · ·before today so I am trying to answer your


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·1· · · · · · · · · · · · · ·Wayne
·2· · · · · · · ·I prefer not to discuss anymore
·3· · · · ·personal e-mail addresses or anything
·4· · · · ·that has no relevance to my job at
·5· · · · ·Wachovia.
·6· ·BY MR. WATSON:
·7· · · · ·Q.· · Okay.· I can't remember if you
·8· · ·ever answered this question.· Do you know
·9· · ·the maximum hours that you are going to
10· · ·claim at trial that you are entitled to
11· · ·recover?
12· · · · · · · ·MS. WILLS:· Objection.· That has
13· · · · ·been asked and answered but you can
14· · · · ·answer again.
15· · · · · · · ·THE WITNESS:· I would estimate
16· · · · ·again to answer your question a
17· · · · ·maximum between 65 and 70 hours per
18· · · · ·week.
19· · · · · · · ·I don't want to say with
20· · · · ·certainty that 70 hours was the most I
21· · · · ·ever worked in three-and-a-half years
22· · · · ·because I am not sure that that is
23· · · · ·necessarily accurate and I would need
24· · · · ·more time to figure out if it was more
25· · · · ·than that in fact.


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·1· · · · · · · · · · · · ·Wayne

·2· · · · · · · · · ·CERTIFICATE

·3· ·STATE OF NEW YORK )
· · · · · · · · · · · ·:· Ss
·4· ·COUNTY OF NEW YORK)

·5· · · · · · ·I, Steven Neil Cohen, a Registered

·6· ·Professional Reporter and Notary Public

·7· ·within and for the State of New York, do

·8· ·hereby certify:· That BARRY WAYNE, the

·9· ·witness whose deposition is herein before

10· ·set forth, was duly sworn by me and that

11· ·such deposition is a true record of the

12· ·testimony given by such witness.

13· · · · · · ·I further certify that I am not

14· ·related to any of the parties to this action

15· ·by blood or marriage and that I am in no way

16· ·interested in the outcome of this matter.

17· · · · · · ·I further certify that neither the

18· ·deponent nor a party requested a review of

19· ·the transcript pursuant to Federal Rule of

20· ·Civil Procedure 30(e) before the deposition

21· ·was completed.

22· · · · · · ·In witness whereof, I have

23· ·hereunto set my hand this 30th day of April

24· ·2014.

25· · · · · · · · · ·-------------------------
· · · · · · · · · · ·STEVEN NEIL COHEN, RPR


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